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 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:19-CR-00178-DAD-BAM
12                                Plaintiff,            STIPULATION TO CONTINUE CONTESTED
                                                        HEARING; ORDER
13                          v.
                                                        DATE: May 1, 2020
14   ARTAK VARDANYAN,                                   TIME: 2:00 p.m.
                                                        COURT: Hon. Stanley A. Boone
15                               Defendant.
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     Pretrial Services filed a Violation Petition in this matter on April 23, 2020. The Petition

21 alleges that defendant violated his pretrial release condition prohibiting drug use by using marijuana and

22 opioids.

23          2.     Defendant appeared before the Court on the Petition on April 27, 2020. Defendant

24 entered his denial to the allegations. The Court set a contested hearing for May 1, 2020, with the

25 understanding that the parties would confer and determine issues in dispute and whether the contested

26 hearing should be continued.
27          3.     The parties have conferred and request that the contested hearing be continued to May

28 27, 2020. Defendant and his counsel are determining whether to admit or contest the violation. At the

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            Case 1:19-cr-00178-CRB-BAM Document 40 Filed 04/30/20 Page 2 of 2


 1 April 27 hearing, the Court authorized Pretrial Services to release the documentation from defendant’s

 2 drug tests to both defendant and the government. Shortly after the hearing, Pretrial Services provided

 3 the documents. The parties require time to analyze the documents, determine whether this matter will be

 4 contested, and identify and coordinate witnesses for a contested hearing, if necessary.

 5          4.      Accordingly, the parties request continuance of the contested hearing on defendant’s

 6 alleged pretrial violation to May 27, 2020 at 2:00 p.m. before Judge Erica P. Grosjean.

 7          IT IS SO STIPULATED.

 8

 9
     Dated: April 29, 2020                                  MCGREGOR W. SCOTT
10                                                          United States Attorney
11
                                                            /s/ VINCENTE A.
12                                                          TENNERELLI
                                                            VINCENTE A. TENNERELLI
13                                                          Assistant United States Attorney
14

15   Dated: April 29, 2020                                  /s/ MICHAEL ARTAN
                                                            MICHAEL ARTAN
16
                                                            Counsel for Defendant
17                                                          Artak vardanyan

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19

20                                                   ORDER

21

22 IT IS SO ORDERED.

23 Dated:        April 29, 2020
                                                      UNITED STATES MAGISTRATE JUDGE
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